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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF NEVADA

                                   * * *

UNITED STATES OF AMERICA,             )
                                      )
               Plaintiff,             )
                                      )        2:08-cr-311-RLH-GWF
vs.                                   )
                                      )        O R D E R
ARMAN PALIKYAN,                       )
                                      )
               Defendant.             )
                                      )
                                      )



      On July 22, 2010, this matter came before the Court on the

government's petition for action on conditions of pretrial release

(#238).    The defendant was present, in custody, with his counsel.

The Court has considered the information and evidence offered by the

government and by the defendant, and finds as follows:

      1. There is probable cause to believe that the defendant

committed felony credit card fraud while on pretrial release; and

      2. The defendant is unlikely to abide by conditions of

release.

      IT IS THEREFORE ORDERED the government’s motion to revoke

pre-trial release, is granted.

      IT IS FURTHER ORDERED pursuant to the provisions of 18 U.S.C.

§ 3148(b) that the release order heretofore entered on December 9,

2008, is hereby revoked.
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      IT IS FURTHER ORDERED that the defendant shall be detained

pending trial and remanded to custody.

      DATED this 22nd day of July, 2010.



                                 LAWRENCE R. LEAVITT
                                 UNITED STATES MAGISTRATE JUDGE




                                     2
